     Case 1:21-cv-00782-CAP-CMS Document 1 Filed 02/23/21 Page 1 of 11




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
NATASHA WHITE,                 )
                               )
     Plaintiff,                )
                               )
v.                             )             Case No.:
                               )
LIFEBRITE LABORATORIES, )
LLC,                           )
                               )
     Defendant.                )
_______________________________/

     PLAINTIFF’S COMPLAINT WITH DEMAND FOR JURY TRIAL

      COMES NOW Plaintiff, NATASHA WHITE (“Plaintiff” or “White”), and

files her Complaint against Defendant, LIFEBRITE LABORATORIES, LLC

(“Defendant” or “LifeBrite”), and in support states the following:

                          NATURE OF THE CLAIMS

      1.    This is an action for monetary damages pursuant to Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C §§ 2000e, et seq., as amended by the

Pregnancy Discrimination Act of 1978 (hereinafter “Title VII”) and Title I of the

Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101 et seq.

(“ADA”) to redress Defendant’s unlawful employment practices against Plaintiff,

including Defendant’s unlawful discrimination, harassment, and retaliation against


                                         1
      Case 1:21-cv-00782-CAP-CMS Document 1 Filed 02/23/21 Page 2 of 11




Plaintiff because of her pregnancy and her disability leading to her unlawful

termination.

                           JURISDICTION AND VENUE

       2.      This Court has jurisdiction of the claims herein pursuant to 28 U.S.C.

§§1331 and 1343, as this action involves federal questions regarding deprivation of

Plaintiff’s civil rights under Title VII and the ADA.

       3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b) because

a substantial part of the events or omissions giving rise to this action, including the

unlawful employment practices alleged herein occurred in the district.

                                    THE PARTIES

       4.      Plaintiff, White, is a citizen of the United States, and is and was at all

times material, a resident of the state of Georgia.

       5.      Defendant, LifeBrite, is a Domestic For Profit Corporation with its

principal pace of business in Atlanta, Georgia.

       6.      Defendant does business and Plaintiff worked for Defendant in this

District.

       7.      Defendant is an employer as defined by all laws under which this action

is brought and employs the requisite number of employees.




                                            2
      Case 1:21-cv-00782-CAP-CMS Document 1 Filed 02/23/21 Page 3 of 11




                         PROCEDURAL REQUIREMENTS

       8.      Plaintiff has complied with all statutory prerequisites to filing this

action.

       9.      On June 16, 2020, Plaintiff filed a claim with the Equal Employment

Opportunity Commission (“EEOC”) against Defendant satisfying the requirements

of 42 U.S.C. § 2000e-5(b) and (e) based on sex, pregnancy, disability, and

retaliation.

       10.     Plaintiff’s EEOC charge was filed within one hundred eighty days after

the alleged unlawful employment practices occurred.

       11.     On January 6, 2021, the EEOC issued to Plaintiff a Notice of Right to

Sue upon request.

       12.     This complaint was filed within ninety days of the EEOC’s issuance of

the Notice of Right to Sue.

                             FACTUAL ALLEGATIONS

       13.     Plaintiff is a disabled female.

       14.     For approximately nine months Plaintiff worked for Defendant as a

Medication Compliance Officer.

       15.     Plaintiff was a full-time employee who regularly worked or exceeded

forty hours per week.

                                             3
     Case 1:21-cv-00782-CAP-CMS Document 1 Filed 02/23/21 Page 4 of 11




      16.    On or about March 14, 2020, Plaintiff verbally informed Ariana

Jefferson, Human Resources Representative, of her pregnancy and inquired into her

eligibility for maternity leave.

      17.    About one week later, Plaintiff began to experience pregnancy related

health complications.

      18.    At all times relevant to this action, Plaintiff was a qualified individual

with a disability within the meaning of the ADA. Plaintiff has an actual disability,

has a record of being disabled, and/or is perceived as being disabled by Defendant.

      19.    Defendant was on notice of Plaintiff’s disability.

      20.    At all times material, Plaintiff was able to perform the essential

functions of her job with or without accommodations.

      21.    On or about March 22, 2020, Plaintiff notified Tyler Ogden,

Supervisor, of her symptoms, which included a fever.

      22.    Subsequently, Plaintiff informed Bonnie Maddox of her symptoms and

requested to remain home from work on March 23, 2020.

      23.    On March 24, 2020, Plaintiff’s symptoms had not subsided. Plaintiff

contacted Ms. Maddox to inform her of the same. Ms. Maddox instructed Plaintiff

to remain home from work for the remainder of the week.




                                          4
     Case 1:21-cv-00782-CAP-CMS Document 1 Filed 02/23/21 Page 5 of 11




      24.    Thereafter, Plaintiff informed Mr. Ogden that she had a prenatal

doctor’s appointment scheduled on April 2, 2020, to discuss her pregnancy related

health issues.

      25.    On or about April 2, 2020, Plaintiff was examined by her doctor.

Plaintiff’s doctor advised she remain out of work until April 28, 2020, due to her

pregnancy related complications.

      26.    Subsequently, Plaintiff emailed a copy of her doctor’s note to Human

Resources.

      27.    Plaintiff then called Benjamin Williams, Human Resources, to inform

him her doctor had written her out of work due to pregnancy related health

complications and that she had emailed a copy of her doctor’s note to Human

Resources.

      28.    Thereafter, Plaintiff notified Mr. Ogden that her doctor had advised she

remain out of work until April 28, 2020, due to pregnancy related health

complications and informed him she had a follow-up doctor’s appointment

scheduled for April 29, 2020.

      29.    However, Defendant did not give Plaintiff the opportunity to be cleared

by her doctor to return to work.




                                         5
     Case 1:21-cv-00782-CAP-CMS Document 1 Filed 02/23/21 Page 6 of 11




      30.    On April 27, 2020, Defendant terminated Plaintiff’s employment under

pretext.

      31.    The following day, Plaintiff received a second separation notice with a

different pretextual reason for termination.

      32.    Plaintiff has been damaged by Defendant’s illegal conduct.

      33.    Plaintiff has had to retain the services of the undersigned counsel and

has agreed to pay said counsel reasonable attorney’s fees.

                                   Count I:
Sex, Including Pregnancy and Maternity Based Discrimination in Violation of
      Title VII as amended by the Pregnancy Discrimination Act of 1978

      34.    Plaintiff re-alleges and adopts, as if fully set forth here, the allegations

stated in Paragraphs 1-33 above.

      35.    At all times relevant to this action, Plaintiff was in a protected category

under Title VII because of her sex, female, including pregnancy.

      36.    Defendant is prohibited under Title VII from discriminating against

Plaintiff because of her sex, including pregnancy and maternity with regard to

discharge, employee compensation, and other terms, conditions, and privileges of

employment.




                                           6
     Case 1:21-cv-00782-CAP-CMS Document 1 Filed 02/23/21 Page 7 of 11




      37.     Defendant violated Title VII by unlawfully terminating and

discrimination against Plaintiff based on her sex including pregnancy and maternity

as compared to male employees and female employees who were not pregnant.

                                      Count II:
                         Retaliation in Violation of Title VII

      38.     Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

stated in paragraphs 1-33 above.

      39.     Plaintiff engaged in protected activity under Title VII while employed

by Defendant.

      40.     Defendant engaged in intentional retaliation against Plaintiff for her

participation in protected activity.

      41.     Defendant’s conduct violated Title VII.

      42.     Defendant’s discriminatory conduct, in violation of Title VII, has

caused Plaintiff to suffer a loss or pay, benefits, and prestige for which she is entitled

to damages.

      43.     Defendant’s actions have caused Plaintiff to suffer mental and

emotional distress, entitling her to compensatory damages.

      44.     Defendant has engaged in discriminatory practices with malice and

reckless indifference to Plaintiff’s federally protected rights, thereby entitling her to

punitive damages.
                                             7
      Case 1:21-cv-00782-CAP-CMS Document 1 Filed 02/23/21 Page 8 of 11




                                      Count III:
                  Disability Discrimination in Violation of the ADA

       45.    Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

stated in Paragraphs 1-33 above.

       46.    At all times relevant to this action, Plaintiff was a qualified individual

with a disability within the meaning of the ADA.

       47.    Plaintiff has an actual disability, has a record of being disabled, and/or

is perceived as being disabled by Defendant.

       48.    Defendant is prohibited under the ADA from discriminating against

Plaintiff because of Plaintiff’s disability with regard to discharge, employee

compensation, and other terms, conditions, and privileges of employment.

       49.    Defendant violated the ADA by unlawfully terminating and

discriminating against Plaintiff based on her disability.

       50.    Defendant intentionally discriminated against Plaintiff on the basis of

her disability.

       51.    As a direct and proximate result of Defendant’s unlawful and

discriminatory conduct in violation of the ADA, Plaintiff has suffered and continues

to suffer, lost wages, lost benefits, as well as severe mental anguish and emotional

distress, including but not limited to depression, humiliation, embarrassment, stress

and anxiety, loss of self-esteem and self-confidence, and emotional pain and
                                             8
      Case 1:21-cv-00782-CAP-CMS Document 1 Filed 02/23/21 Page 9 of 11




suffering, for which Plaintiff is entitled to an award of monetary damages and other

relief.

          52.   Defendant’s unlawful conduct in violation of the ADA is outrageous

and malicious, intended to injure Plaintiff, and has been done with conscious

disregard of Plaintiff’s civil rights, entitling Plaintiff to an award of exemplary

and/or punitive damages.

                                        Count IV:
                           Retaliation in Violation of the ADA

          53.   Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

stated in Paragraphs 1-33 above.

          54.   Defendant retaliated against Plaintiff for engaging in protected activity

when Plaintiff requested reasonable accommodations under the ADA by terminating

her employment.

          55.   Defendant’s conduct violates the ADA.

          56.   Defendant’s discriminatory conduct in violation of the ADA has caused

Plaintiff to suffer loss of pay, benefits, and prestige.

          57.   Defendant’s actions have caused Plaintiff to suffer mental and

emotional distress entitling her to compensatory damages.




                                               9
     Case 1:21-cv-00782-CAP-CMS Document 1 Filed 02/23/21 Page 10 of 11




      58.    Defendant has engaged in discriminatory practices with malice and

reckless indifference to the Plaintiff’s federally protected rights, thereby entitling her

to punitive damages.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, requests this Honorable Court:


      a)     Enter judgment requiring Defendant to pay back wages and back

benefits found to be due and owing at the time of trial, front-pay, compensatory

damages, including emotional distress damages, in an amount to be proved at trial,

punitive damages, liquidated damages, and prejudgment interest thereon;

      b)     Grant Plaintiff her costs and an award of reasonable attorneys’ fees

(including expert fees); and

      c)     Award any other and further relief as this Court deems just and proper.

                                  JURY DEMAND

      Plaintiff hereby requests a trial by jury on all triable issues herein.

                                         Respectfully Submitted:
                                         /s/ Gary Martoccio
                                         Gary Martoccio
                                         Georgia Bar Number: 497511
                                         Spielberger Law Group
                                         4890 W. Kennedy Blvd., Ste. 950
                                         Tampa, Florida 33606
                                         T: (800) 965-1570

                                           10
Case 1:21-cv-00782-CAP-CMS Document 1 Filed 02/23/21 Page 11 of 11




                              F: (866) 580-7499
                              Gary.Martoccio@spielbergerlawgroup.com

                              Counsel for Plaintiff




                                11
